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12
                         UNITED STATES DISTRICT COURT
13
           CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
14

15                                          CASE NO:
16   Sandra Quinones, Individually
     and for Baby,                          COMPLAINT FOR DAMAGES
17

18
                                            JURY TRIAL DEMANDED
     Plaintiffs,
19
     vs.
20   County of Orange, a
21
     Governmental Entity; and DOES
     1-50.
22
                       Defendants.
23

24
          1.          The Court has subject matter jurisdiction

25
     over the action pursuant to 28 U.S.C. § 1331 as

26   Plaintiff alleges, among other things, violations of
27   the Fourteenth Amendment to the U.S. Constitution, 42
28   U.S.C. § 1983, and the Bane Act.

                                    COMPLAINT
                                        1
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1         2.    Venue is proper as all facts and circumstances
2    which form the basis of the allegations made therein
3    occurred withing the County of Orange in the State of
4
     California.
5
          3.     Defendant County of Orange, hereinafter also referred to as
6
     “County of Orange” or “County”, is a political subdivision of the
7
     State of California and is a municipal entity, located within the
8
     territorial jurisdiction of this Honorable Court.
9
          4.    Defendants DOES 1 through 50, inclusive, are sworn peace
10
     officers and/or deputy sheriffs and/or supervisors and/or
11
     investigators and/ Special Officers and/or a dispatchers and/or some
12
     other public officer, public official or employee of defendant
13

14
     County of Orange, who in some way committed some or all of the

15
     tortious actions (and constitutional violations) complained of in
16   this action, and/or are otherwise responsible for and liable to
17   Plaintiff for the acts complained of in this action, whose identities
18   are, and remain unknown to Plaintiff, who will amend their complaint
19   to add and to show the actual names of said DOE defendants when
20   ascertained by Plaintiff.
21        5.    At all times complained of herein, DOES 1 through
22   50,cinclusive, were acting as individual persons acting under the
23
     color of state law, pursuant to their authority as sworn peace
24
     officers and/or deputy sheriffs and/or Special Officers and/or
25
     Supervisors (i.e. Sergeants, Lieutenants, Captains, Commanders, etc.)
26
     and/or dispatchers, employed by defendant County of Orange, and were
27
     acting in the course of and within the scope of their employment with
28
     defendant County of Orange.
                                    COMPLAINT
                                        2
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1

2         6.      Plaintiff is presently unaware of the identities of
3    DOES 1 through 50, inclusive, and will amend her complaint to add and
4
     to show the actual names of said DOE defendants, when ascertained by
5
     Plaintiff.
6
          7.      In addition to the above and foregoing, defendants DOES 1
7
     through 50, inclusive, acted pursuant to a conspiracy, agreement and
8
     understanding and common plan and scheme to deprive the Plaintiff of
9
     her Federal Constitutional and statutory rights, as complained of in
10
     this action, and acted in joint and concerted action to so deprive
11
     Plaintiff of those rights as complained of herein; all in violation
12
     of 42 U.S.C. § 1983, and otherwise in violation of United States
13

14
     (Constitutional and statutory) law.

15
          8.      Said conspiracy / agreement / understanding / plan / scheme /
16   joint action / concerted action, above-referenced, was a proximate
17   cause of the violation of the Plaintiff’s federal and state
18   constitutional and statutory rights, as complained of herein.
19

20
                                   FIRST CLAIMS

21      SANDRA QUINONES INDIVIDUALLY AND FOR BABY , AGAINST
22
                         COUNTY ORANGE AND DOES 1-50
23

24        9.         Plaintiff re-pleads and incorporates by
25
     reference, as if fully set forth again herein, the
26
     aforementioned allegations of this complaint.
27

28


                                    COMPLAINT
                                        3
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1
          10.        On March 28, 2016 Sandra Quinones (“Ms.

2    Quinones”) was in custody in the Orange County jail and
3
     6 months pregnant.         Her water broke and she pushed the
4

5    call button in her cell with no response for two (2)
6
     hours.
7

8
          11.     Defendants, and each of them, failed to call

9    an ambulance and decided to transport her to the
10
     hospital on a non-emergency basis.               If that was not
11

12   despicable enough, Defendants acted with further
13
     deliberate indifference to the immediately medical
14
     needs of Ms. Quinones when they, among other things,
15

16   stopped for Starbucks on the way to the hospital,
17
     instead of transporting Ms. Quinones directly to the
18

19   hospital.
20
          12.     Ms. Quinones and her baby were hospitalized,
21
     and her baby then died.           The aforementioned actions and
22

23   inactions violated 42 U.S.C. §1983 and caused
24
     significant damages including emotional distress and
25

26   wrongful death damages pursuant to California law.
27

28


                                    COMPLAINT
                                        4
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1
          13.     Ms. Quinones has spent significant amount of

2    time since the death of child in custody, tolling the
3
     statute for her 42 U.S.C. §1983 claim pursuant to Penal
4

5    Code §352.1.       Such in custody time period tolled the
6
     statute of limitations such the elapsed out of custody
7

8
     time for Quinones was less than 2 years.

9         14.         Plaintiff Quinones is not in custody and, therefore,
10
     not subject to PLRA.
11

12                                    PRAYER
13
          WHEREFORE Plaintiff prays that this Court award
14
     damages and provide relief as follows:
15

16        I.          For all allowable special and general
17
     damages.
18

19        II.         For attorney’s fees and costs of suit
20
     pursuant to all applicable law including 42 U.S.
21
     §12205, 42 U.S.C. §1988 and Cal Civ. Code §52 and §54.
22

23        III.        And for all other appropriate and just
24
     relief.
25

26

27

28


                                    COMPLAINT
                                        5
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 1
     DATED:    April 6, 2020                 Respectfully submitted,

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 3

 4

 5
                                             _________________________
                                             RICHARD P. HERMAN
 6                                           NICHOLAS KOHAN
 7                                           ATTORNEYS FOR PLAINTIFFS
 8

 9                            JURY TRIAL DEMANDED
10

11   DATED: April 6, 2020                    Respectfully submitted,
12

13

14

15                                           _________________________
16
                                             RICHARD P. HERMAN
                                             NICHOLAS KOHAN
17                                           ATTORNEYS FOR PLAINTIFFS
18

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                                    COMPLAINT
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